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NO. Tr5-Cy-01023-CRK

 

DEROGITICN OF DARIN SCHRTEVER

 

For the plaintiff: JEFFREY A. CLE
Sioux Falls, SD:
» the Defeat Hi.
tetera Mumcipal Ray EEN, MSE
Ut itties: p ee LiL. ee
Ss 57402-1030

For the Witness: GEERY i, WHEELER
: Bee

Sioux Pals, sD 57117
ALSO PRESENT: pee SE

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BE IT REVEVBERED ‘hat on Thurscky, the 29th day of
June 2016 at 9:13 am., at the offices of mR, 2009 East
57th Street, Suite 101, siax Falls, South Delota, before
STEFMOMIE: L, MOEN, -RPR, @ Fréglance Court Renorter and
Nbtary PUbTIc in and for the state of south Dakota, amearad
DARIN SCHRIEVER, the witness herein:

WHEREUPON, ‘the follaving procasdings vere bed,
wWewit:

eee aE
(eihibit Nov 4 marked for-identification, Mr. thorpson is
rot nov present.)
DARIN SCRUTEVER Busia vss ss, having
Hela in

Can you state your nate, please.
Darin Schriever.
Darin, ny rare is Jack Hieb, and as. I indicated of f the
record, I represent watertow Municipal utilities. pave you
ever had your deposition taken prior to today?
ves.
On how many occasions?
cra,
Allright. was that involving litigation that related-to.-
was that 26 an @qert or as a = as afact witress, or do you
know?

 

Stephanie Moen “& Assoc. (605) 995-0955

Stephanie Moen 4 Assoc. (605) 995-9955 3

 

 

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By Mr. Hieb

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Stephanie Moen & Assoc. (605) 999-0955

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Tedon't know.
Wo ves Involved in the Niticatia?
It was a contractor versus a utility oer; andl ve vere
So DR wasn't-a party to the lassuit.
No.
A couple of things 1 want to give you, a caple of grou
rules: I want:to give you. before we-get started. I'm gying
to ask you verbal: questions; I'T] need verbal responses. We
often comuricate with nods. of the head, and while that
works’ in a conversation betwesh us, it makes it difFiiit

“for the court reporter to take it dom, day?

Yep.

All right. Second, 1f you can weit for ne to finish asking
ny qestion, I'Tl try to wait for you to finish giving your
anger. That. vey we are rot talking at the sare time. As
you can inagine, it. is very.diffiailt for her to take coun
two \Wices at- the sare tine, okay?

Cay. .
Finally, 1f I ask you-a question you don't understand or if
T use sore word that doesn't make any seise to you fn the
‘context! in which I use it, just don't answer the question;
tell me. “r. don't understand;" I'T] be happy ‘to. rephrase it,
okay?

Yep.

 

 

 

EXHIBIT Assoc. (605) 995-0955 4
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that?
MR. COLE: Object.to form.
(By Wr. Hie) Do you understand water usage for fire
‘Suppression purtoses?.
Ves.
All right. So-urderstarding’that, does your nodeling factor
inthe potential peed for thar?
well, T believe.cur report ves clearin the ~in-stating
‘that. Sioux ches rot. provide fire protection in their vater
service.
Rigtt, that doesn't anever my question. And the one thing
T'T] tell youcis: -T've- read your report cover to cover.
Your report isn't testinmny,..so when I’m asking you these
questions, Tt's not that I'm trying to be nde of that 5
haven't taken the ‘troble to. read it; 1 peed testimony fron
you,
© realize that, they don‘t provide fire protection, ‘but
as. part of the ardlysis ‘that you're doing for than; you're
being asked ‘to detennine: can they supply the water reas of

“these potential new custiters, correct?
. Correct:

‘And the water needs, as that ten is: defined t'm assuming,
ches rot ‘include fire protection, rioht?

‘That's correct,

So you're talking oly about donestic water stpgly for

 

BPRUNNRS ERE ARE REE SB own aueawn pw

SCHRIEVER BY HIER

‘that they quuld serve an additioral 30:0 35 customers in
‘those areas under present. conditions?

‘That vas. based. upon several factors: their treatrent
capacity, their storage capacity, the darends of the
existing systen

} Anything else?

Not that I orecall.
ADL right. So-when you state - when you stated! earlier thar
you believe ‘they have the distrriburion camcity tp. serve
‘those potential new custurers Tisted of the first pee of
the temo tat’s part of Appendix E to Baribit 4, thet ieans
‘they have big ercugh pipes that they could deliver water to
those ‘custovers adegerely, correct?
it's a carbiration of piping end punping facilities,
storage.
Big erough pipes, enough storage, and enough pumping
capacity.
correct:
All rights ‘wat, evidently, they're short on, tn-order to
serve all of those custeners' reeds based upon your data, is

WR. COLE: Coject to fonn.

You.can go ahead:and answer.

To serve nore ‘then ‘the 30.to.35 additional users; ve believe
that Sioux neads adtiitioral source cepacity which nears

 

 

 

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Stephanie -Moen & Assoc. {605} 995-0955 25 Stephanie Moun c Assoc. (€0S) 995-0955 7
‘SCHRIEVER BY HIEB SCHRIEVER BY HIEB
consunption or other-related-uses on a nonthily basis. wells ard treatment capacity.

that's right.
Tethirk I asked you this before, but you've circled these
areas on Sheets 1 and 10 of Appardiix & that identify the
areas you vere asked to study, and they show with gray dots
the existing customers of Sioux. And ‘then you were provided

@ list: of potential nev. customers for Sioux that’s shonin |

‘the maro:- here on-the first page of Appendix €, right?

Right.

what was -your ultimate conclusion about’ Siaux’s ability to
adequately supply the water ness of the customers: Tisted on
‘the first page of the mam that's part of appendix E?

From a. distribution standpoint, Sioux has the ability to
Gay. And fron a capacity standpoint - would ‘that be the
other tem. to use-or would there be a better tem?

From.a. source capacity stancbsint?.

Sure, 1'1] use your temi "sourte capacity standpoint." Do
‘they have the ability to serve those astmers?

Our conclusion vas that. they ouild serve up to 30 to 35
acdtitional custoners"in those areas,

And you reached that conclusion by looking at their current
Correct.

And how vas: it that you were able tp conclude from thar cata

 

GRPRSRNRER NG BE AR RE RE EB we sm A Rw oN

(8y Mr. Hidd) And ‘in laynen's tems, they don't. have eruh
vater to serve all of the custarers’ listed on the first page
of menp.— of the mam ‘that's-part of Appendix £.

MR. COLE: -Cbject-to fom.

Go ahead and answer.

We believe they currently don't have aceqate facilities in
Place to serve all of tise astonrs.
(By. Mry-Hiel) Chay. And when you say they don't have
aceqate facilities, they can't treat anug) vater at the
treatmart plant. that vould provide-water to the castors
Tisted “in this mandunder current conditions.

BR. GLE: Chject-to form,

You can. oo ahead and ansver.

‘You guys are.confusing me.
(By Mr. Hied) And 1 don't vant to confise you, so tell ne
what - I'm trying to ~ I'm trying to make sure that 1
unerstand what your testinony “is; and 7 think I do, but —

PR. COLE: Exasesme. Dorin, I'm just objecting
‘the form of the question; that's all. ‘That's all 2'n doing.
So you can go ahead and ansver those questions, and z
apdlogize if my. objections have distracted you from what the
Questions. vere, both to counsel and yourself.
So to serve all of the customers Tisted on the first page of |
the. mano, = .

 

Stephanie Moen 4 Assoc. (605). 995-0955 %

Stephanie Moen & Assoc. (605) 995-0955 2B

 

 
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B ENGINEERING WATERTOWN SERVICE AREA REPORT

PREPARED FOR

SIOUX RURAL WATER SYSTEM

February 2016

 

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DGR Project No. 802810
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WATERTOWN SERVICE AREA REPORT
PREPARED FOR

SIOUX RURAL WATER SYSTEM

 

 

February 2016
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DGR Project No. 802810

DGR Engineering

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INTRODUCTION

DGR Engineering has been retained by Sioux Rural Water System to provide a report addressing
the service area near the City of Watertown. The report will provide background information on
the existing distribution system and the existing water treatment plant which serves the area. The
report will also address the proposed improvements project which has been previously identified.
Thirdly, the report will address the potential addition of customers in the area.

Professional opinions expressed in this report are based on sound engineering principals and are
made to a reasonable degree of certainty. The right is reserved to make other and further opinions
and to make clarifications of the opinions if new information is received or in response to questions
asked at deposition or in discovery. The biographical information for Darin Schriever, a
Professional Engineer with DGR Engineering, is included in Appendix A.

BACKGROUND INFORMATION

It is common for rural water systems to construct the system to provide for certain services and
not others. Sioux Rural Water System has chosen to provide water service to meet the potable
water demands of domestic, small business and livestock uses in the system. It is also common
for rural water systems, such as Sioux Rural Water, to build an initial system with some spare
capacity to provide for increased usage and the addition of some new customers. The system is
commonly built at a level which is affordable at the present time, but can be expanded in the future
as needed. As new service areas develop, new customers are added and/or existing customers use
more water, the system can plan for and construct improvements to meet the needs of the water
customers.

A Preliminary Engineering Report (PER) was provided for Sioux Rural Water System in March
of 2013. A copy of the full report is included in Appendix B. The report provides historical
information for the Rural Water System and provides recommendations for improvements. An
Addendum to the Preliminary Engineering Report was provided in November of 2014 and is
included in Appendix C. The Addendum addresses some modifications to the original PER and
the recommended improvements.

The Preliminary Engineering Report and the Addendum identified several locations in the rural
distribution system which had potential low pressures during peak usage periods. Pipeline and
booster improvements were identified to provide additional distribution capacity to these areas.
The improvements project is intended to be bid in the Spring of 2016 with construction beginning
in the Summer of 2016 and planned completion by the Spring of 2017. The proposed distribution
improvements are identified in drawings included in Appendix D. The planned improvements
include approximately eight miles of 8” pipeline generally south and west of Pelican Lake. This
pipeline will provide additional water supply and better residual pressures to existing and potential
customers in the area.

DGR Engineering has performed hydraulic modeling for rural water systems for over 30 years.
The computer software used is called KY Pipe and it performs hydraulic calculations based upon
instantaneous peak demand, as well as average demand. The modeling software utilizes a peak
demand curve and a demand diversity method to calculate the highest flow rates expected and,

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therefore, the lowest residual pressures expected during a peak water usage period. The results are
identified as instantaneous peak demand flows and residual pressures. The instantaneous peak
demand low pressures are theoretical only and may have never been experienced by any customer.

The software can also be used to calculate the estimated average pressures and flows for a peak
day situation. These results are identified as residual pressures and flows for a 20 hour period. In
addition to providing the calculated average residual pressures and flows for the distribution
system, the average 20 hour period is also useful in estimating the effects upon tank levels and
pumping capabilities. A 20 hour period (as opposed to a 24 hour period) is used to provide some
margin for the possibility of peak day demands being higher than projected.

The hydraulic model was updated for Sioux Rural Water in early 2013 as part of the PER
agreement, and the model is based upon water use in the year 2012. 2012 was notably the highest
recent usage period for many systems in the region, including Sioux Rural Water. 2012 had high
peak day usage and high sales volumes for the year. When performing hydraulic modeling for
rural water systems, the factors included in the method of calculating the instantaneous peak
demands are as important as the actual water use assigned to customers. The factors are based
upon actual usage patterns of the water system and also upon long-term experience in modeling
rural water systems.

WATERTOWN AREA REVIEW

A hydraulic modeling effort was performed in order to review the condition of the existing
distribution system and the effect of the proposed improvements, as well as the effect upon the
system with additional customers added. Two areas were reviewed specifically. The first area is
generally described as the “West Side” and is the area between Lake Kampeska and Pelican Lake
in Lake Township and Pelican Township. The second area considered is immediately east of
Interstate 29, generally along Highway 212, or more generally described as the “East Side”. The
results of the modeling effort are summarized in a memo dated January 25, 2016 and is included
in Appendix E.

When considering additional customers in these areas for hydraulic modeling purposes, it was
assumed that the annual average monthly water use for additional customers would be 5,500
gallons per month. This is considered a very conservative approach as the actual annual average
of equivalent customers in the area is 4,700 gallons per month for year 2012. For revenue
projection purposes, it would be conservative to use a number less than 4,700 gallons per month
because 2012 was a high sales year (about 14% higher than adjoining years). It is recommended
that 4,100 gallons per month be used for an annual average for revenue projection purposes.

West Side Review
Sheets 1-3 of the memo show the existing system under instantaneous peak demand
conditions. The results indicate that there can be low residual pressures experienced in the

area. This is one of the primary reasons why the system intends to make improvements to
the area with the proposed eight miles of 8” pipeline as previously discussed.

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Sheets 4-6 display the anticipated residual pressures and flows under instantaneous peak
demand conditions after the proposed improvements project is complete. This
demonstrates that the improvements project will be effective in providing additional
residual pressure to the area.

Sheets 7-9 indicate the residual pressures and flows for instantaneous peak demand
conditions after several additional customers are added in the area and two additional minor
water main improvements are complete. The additional water customers are listed on the
first page of the memo in Appendix E, and they generally include the Pelican View Estates,
Kaks Addition and a few small businesses in the area. The modeling results indicate that
with the additional customers added to the system, acceptable residual pressures and flows
can be provided to the area.

For each of the three scenarios presented above, the average 20 hour pressures and flows
were also calculated. These results are displayed on Sheets 18-26 and indicate that the
system has adequate pumping and distribution capacity to meet peak day demands of
existing and additional customers.

East Side Review

The hydraulics memo addresses the distribution area on the east side of Watertown
beginning with Sheet 10. Sheets 10 and 11 show the instantaneous peak demand conditions
and the resulting pressures and flows for the existing system before the improvements
project is completed.

Sheets 12 and 13 show the instantaneous peak demand conditions with additional
customers added in the area before the improvements project is complete. The additional
customers on the east side of Watertown are listed on Page 1 of the memo and generally
include several small businesses in the area. The modeling results indicate that the
identified additional customers can be adequately served by the existing water system.

Sheets 14 and 15 show the instantaneous peak demand conditions for the existing system
with the proposed improvements project completed.

Sheets 16 and 17 show the instantaneous peak demand results with the new customers
added, with minor improvements and the proposed improvements project is complete.
Again, the results indicate that the additional customers can be added to the system while
providing adequate pressures and flows to the system.

The average flows and pressures for a 20 hour period for the east side of Watertown are
shown on Sheets 27-34. The results indicate that the system has adequate pumping and
distribution capacity to meet peak day demands of existing and additional customers.

Generally speaking, the Sioux Rural Water distribution system can easily accommodate

additional customers on the east side because of the previous investment made in several
miles of 6-inch pipe along the east side of Interstate 90.

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SIOUX WATER TREATMENT PLANT REVIEW

Sioux Rural Water System operates two water treatment plants. The south water treatment plant
is called the Castlewood Water Treatment Plant and generally serves the southern and western
parts of the system. The north water treatment plant is called the Sioux Water Treatment Plant
and it generally serves the northern and northeastern parts of the system.

When considering the production needs of the Sioux Water Treatment Plant, more recent data was
considered than that which was available at the time the original PER was completed. The PER
generally contained data from 2009 to mid-2012. More recent data includes data through
September 2015. Significant effort has been made over the last couple of years to control water
loss, which has resulted in more water being available for delivery. Peak usage days in the spring
of 2014 were similar to the peak usage days in 2012; however, the 3-day and 5-day moving
averages were higher in the spring of 2014 than they were in 2012. Therefore the spring of 2014
data was used in reviewing the Sioux Water Treatment Plant capacity.

The Sioux Water Treatment Plant serves the area surrounding Watertown. The water treatment
plant consists of granular media filters for iron and manganese reduction. The hydraulic capacity
of the water treatment plant is 600 gallons per minute (gpm). The current raw water quality and
the current effectiveness of the treatment process limit the plant capacity. The plant can produce
400 gpm with consistent good finished water quality. The plant can be operated at 450 gpm with
only slight increases in finished water manganese levels. The effects of higher manganese levels
are aesthetic only and are generally not problematic during high usage periods. Operated at 450
gpm over a 22 hour period, the daily treatment capacity of the Sioux Water Treatment Plant is
594,000 gallons per day. A 20 to 22 hour day is commonly used when evaluating water treatment
plant capacity; this allows two to four hours per day to backwash filters and provide miscellaneous
maintenance as required.

Design guidelines recommend that a water system provide finished water storage equal to or
greater than an average day water demand. Recent average day demands from the Sioux WTP
have been approximately 350,000 gallons per day. Total storage in the Sioux WTP service area,
including reservoirs at the WTP and water towers in the distribution system, is 468,000 gallons.
This exceeds the recommended amount and allows Sioux Rural Water to meet daily fluctuations
in water demands and to meet multi-day high demand periods.

The 176 additional customers previously discussed in the hydraulic modeling effort represent an
added water demand of approximately 32,500 gallons on an average day and approximately 93,000
gallons on a peak day. Given the current treatment capacity of 450 gpm, and given the available
system storage, approximately 30-35 additional customers of the type described could be added to
the system without exceeding source capacity. In order for more than 30-35 customers to be added,
the source capacity would need to be increased.

Four primary alternatives can be considered for expanding source capacity for Sioux Rural Water:
optimize and improve existing facilities, finding locations for wells with better water quality,
adding filters and obtaining water supply from other entities. Each is discussed in more detail

below.

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Optimize and Improve Existing Facilities

Some improvements have been made in the last couple of years to improve the
effectiveness of the current treatment process. These include filter media replacement,
backwash flow rate adjustment, closer monitoring of chemical dosages, etc. Further work
could potentially be done to optimize and improve the existing facilities such as: 1) a filter
media study to determine if another media type would be more effective, 2) a chemical
study to determine if other chemical treatments would be more effective, 3) addition of on-
line instrumentation to further improve chemical control, and 4) consider the addition of a
larger detention tank specifically designed for settling of iron and manganese in order to
reduce the solids loading on the filters. The goal would be to attain consistent good finished
water quality at treatment flow rates over 500 gpm.

New Wells with Better Water Quality

The current raw water source for the Sioux Water Treatment Plant has high levels of iron
and manganese which the limits the filter capacity to 400-450 gpm and requires frequent
backwash. If wells could be obtained with lower iron and manganese levels, the filters
could potentially be run at a higher capacity (such as 450-550 gpm) and the filters could
potentially be run for a longer time period between backwashes, both of which could
increase the treatment capacity of the Sioux plant. Project cost and timeline are difficult
to estimate due to the variable nature of aquifer systems. The effort could take 1 to 3 years
and cost $400,000 to $700,000. Sioux Rural Water is in the beginning phase of
implementing this alternative. The addition of two new wells is included in the budget of
the currently funded improvements project.

Adding Filters

In previous reports, a filter addition has been identified as a potential improvement at the
Sioux Water Treatment Plant. Adding two more filters would double the treatment
capacity to 960,000 gallons per day. Additional wells would also be needed to increase
source capacity. A filter addition would be expected to cost $1 million to $1.3 million total
project cost, and the time required to complete such a project is expected to be 2 to 4 years.

Obtaining Water Supply from Other Entities
Another alternative for expanding source water capacity is to obtain a treated water supply
from another entity. This could consist of purchasing water from a neighboring

municipality or rural water system. Project cost would depend up location of facilities and
agreements between systems. Timelines for such projects are commonly 1 to 3 years.

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